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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TEXARKANA DIVISION
§
Resonant Systems, Inc. §
§
v. § CASE NO.2:22-cv-00424-JIRG
§
§
Sony Group Corporation §

REPORT OF MEDIATION

The above-captioned case was mediated in person by David Folsom on Tuesday,
November 12, 2024, between Plaintiff and Defendant. After continued settlement discussions, a
mediator’s proposal was submitted to the parties and accepted.

Signed this Tuesday, December 17, 2024.

/s/_ David Folsom

David Folsom
David@FolsomADR.com
TELPHONE: 903 277 7303

6002-B Summerfield Drive

Texarkana, Texas 75503

FORM - Mediation Report-28051497 2

CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on this Tuesday December 17, 2024. As such, this document

was served on all counsel who are deemed to have consented to electronic service. Local Rule
CV-5(a)(3)(A).

/s/_ David Folsom
David Folsom

